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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

TYLER TECHNOLOGIES, INC.,

                    Plaintiff,
                                                   Case No.:
vs.

CITY OF JACKSONVILLE, FLORIDA,

                    Defendant.

                                   COMPLAINT

Plaintiff Tyler Technologies, Inc. (“Tyler”) files this Complaint against Defendant

City of Jacksonville, Florida (“Jacksonville”). In support of its claims herein,

Tyler respectfully alleges the following:

                                 I. INTRODUCTION

        1.    This case involves a license and services agreement whereby Tyler

licensed certain software and provided services to Jacksonville to implement an

automated records management system for law enforcement. In March 2022,

Jacksonville indicated to Tyler that it wished to terminate the agreement for

convenience. At that time, Jacksonville owed Tyler over $1.6 million for software

licensed and other services provided. Despite repeated requests for payment,

Jacksonville has failed to pay Tyler and has—in further violation of the terms of




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the agreement—refused to engage in good faith efforts by Tyler to resolve the

outstanding dispute.

                                    II. PARTIES

      2.     Tyler is a Delaware corporation that maintains a principal place of

business at 5101 Tennyson Parkway, Plano, Texas 75024. Tyler is the largest

software company in the nation that focuses solely on providing integrated

software and technology services to the public sector. Tyler has more than 26,000

successful installations across more than 10,000 sites, with clients in all 50 states,

Canada, the Caribbean, Australia, and other international locations. Tyler offers

four groups of solutions, including Public Administration, Courts and Public

Safety, K-12 Education, and Transformative Technology.

      3.     Defendant Jacksonville is a municipal corporation existing under the

Constitution and laws of Florida. Jacksonville can be served by serving Tiffiny

Douglas Pinkstaff, Assistant General Counsel, Office of General Counsel, 117

West Duval Street, Suite 480, Jacksonville, Florida 32202 and Deidra Baines,

Procurement Manager, Jacksonville Sheriff’s Office, 501 E. Bay Street,

Jacksonville, Florida 32202.




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                       III. JURISDICTION AND VENUE

      4.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332 because Tyler and Jacksonville are citizens of different states and the

amount in controversy, exclusive of interest and costs, exceeds $75,000.

      5.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

Jacksonville is located in this District and a substantial part of the events or

omissions giving rise to Tyler’s claims occurred in this District. Furthermore, the

parties, by agreement, consented to the courts located in Jacksonville, Duval

County, Florida.

                        IV. FACTUAL BACKGROUND

      6.    On June 30, 2020, Tyler and Jacksonville entered into a License and

Services Agreement (the “Agreement”), whereby Tyler contracted to license

certain software and provide certain services to Jacksonville in order to

implement an automated records management system for law enforcement and

ancillary modules (the “System”).

      7.    The initial contract term was seventy-nine months to fully

implement the software.     The Agreement did not include a termination for

convenience provision; however, the Agreement did provide that Jacksonville

could terminate the Agreement “for cause” only as follows:

            [Jacksonville] may terminate this Agreement for cause in the
            event [Tyler does] not cure, or create a mutually agreed



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            action plan to address, a material breach of this Agreement
            within thirty (30) calendar days of [Tyler’s] receipt of notice
            thereof. Within such thirty [30] day period, [Jacksonville]
            shall cooperate with [Tyler] as provided in the first sentence
            of the Dispute Resolution clause set forth in Section J(3). In
            the event of termination for cause, [Jacksonville] will pay
            [Tyler] for all undisputed fees and expenses related to the
            software products, and/or services [Jacksonville has]
            received, or [Tyler has] delivered, prior to the effective date
            of termination.
      8.    Section J(3) of the Agreement also provided as follows:

            [Jacksonville] agree[s] to cooperate with [Tyler] in trying to
            reasonably resolve all disputes, including, if requested by
            either party, appointing a senior representative to meet and
            engage in good faith negotiations with [Tyler’s] appointed
            senior representative.

      9.    In 2020, Tyler began implementation of the System per the terms of

the Agreement, and Tyler performed substantial work on behalf of Jacksonville.

In late 2021, Jacksonville raised several issues regarding the functionality of the

System that required Tyler to modify the System for Jacksonville’s specific

preferences. The parties met several times in late 2021 and early 2022 regarding

Jacksonville’s requests.   In March 2022, Tyler proposed resolutions for all

identified issues; however, Jacksonville rejected Tyler’s proposal and expressed

its desire to discontinue project activities and terminate the Agreement. On May

5, 2022, the parties held an additional meeting during which Tyler reiterated its

desire to proceed with project activities on the System, but Jacksonville refused

to resume work and restated its desire to terminate the Agreement for

convenience. During all of these discussions, Jacksonville never identified any


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material breach, provided any notice of breach, or otherwise suggested that any

defect in the software or services existed or needed to be cured or addressed by

Tyler.

         10.   For the next several months, legal teams for Tyler and Jacksonville

engaged in discussions regarding Jacksonville’s termination for convenience

request. During these discussions, Tyler emphasized its belief that—consistent

with legal and industry standards for terminations for convenience—Jacksonville

was required to pay for services and software that Tyler had already provided.

Although Jacksonville stated its desire not to pay for those services and software,

no representative of Jacksonville ever identified any material breach or suggested

that the termination was “for cause” per the terms of the Agreement. Instead,

the discussions were centered around Tyler’s offer to accommodate Jacksonville

by allowing the city to terminate the Agreement for convenience even though the

Agreement did not provide such a right.

         11.   Tyler also repeatedly advised Jacksonville that Tyler’s team was

ready, willing and able to re-engage and complete the implementation of the

System. Despite repeated requests from Tyler, Jacksonville refused to consider

or coordinate any discussions between either party’s business leaders or senior

representatives. On August 22, 2022, Tyler sent a letter to Jacksonville that

outlined the specific amounts due and outstanding pursuant to the Agreement



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based on Jacksonville’s purported termination for convenience. The letter noted

that Jacksonville owed a total of $1,488,510.75 in fees, including $1,334,823.75 in

unpaid licensing fees for software that had already been delivered and $153,687

for professional services that had been provided. In addition, the letter noted

that Jacksonville owed $221,862.33 in maintenance fees under the Agreement,

although Tyler suggested that, in order to facilitate a resolution, Tyler would be

willing to waive those fees.

      12.   On September 7, 2022, after months of discussing a termination for

convenience, Jacksonville abruptly and inexplicably changed its position and

sent Tyler a “Notice of Termination for Cause,” which purported to terminate the

Agreement “for cause” effective in 30 calendar days. The letter contained vague

references to purported issues with the System, including a complaint that it

would “require significant staffing increases and cumbersome manual

processes” to run the System. The letter noted that it was not providing a

“comprehensive list of the outstanding deficiencies.”

      13.   Tyler responded to Jacksonville’s purported Notice of Termination

for Cause on September 14, 2022, and indicated that the notice was

“inappropriate,” failed to identify any “material breach,” contained inaccurate

information regarding the status of the project, and failed to comply with the

contractual cure provisions in the Agreement. Tyler reiterated the fact that it was



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owed over $1.6 million per the terms of the Agreement and sought to facilitate

business-to-business discussions with senior representatives per the dispute

resolution provisions in the Agreement.

      14.    On September 29, 2022, at Tyler’s urging, Jacksonville provided an

“Itemized List of Issues” that it claimed were grounds for termination for cause.

The list included 13 items that Jacksonville suggested were open issues. On

October 11, 2022, Tyler provided a detailed response to these 13 issues,

explaining that none constituted a material breach or a software defect that

would justify a termination for cause. Tyler further outlined the specific status of

each issue and identified how the parties had jointly planned to address those

issues based on prior discussions.             Tyler’s letter contemplated ongoing

discussions with Jacksonville to implement that plan.

      15.    On October 17, 2022, Jacksonville sent a letter purporting to confirm

that it was terminating the Agreement “for cause” and stating that Jacksonville

would not pay any outstanding amounts owed. On October 21, 2022, Tyler sent

a letter disagreeing with Jacksonville’s effort to terminate for cause and its

refusal to pay outstanding amounts owed. Tyler also reiterated its desire to

engage with Jacksonville’s business leadership per the terms of the dispute

resolution provisions in the Agreement and suggested non-binding mediation to

help the parties’ resolve their dispute.



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      16.     On November 1, 2022, Jacksonville responded that “the City does

not owe any amounts under the terminated contract, and therefore is not

amenable to mediation or further discussions regarding the City’s right to

terminate or amounts that Tyler believes to be due and owing.” On November

29, 2022, Tyler again reached out to Jacksonville through its outside legal counsel

and requested that Jacksonville comply with the terms of the dispute resolution

provisions in the Agreement by engaging in good faith negotiations with Tyler.

Tyler requested a response by no later than December 9, 2022. Jacksonville failed

to respond.

      17.     Jacksonville’s unjustified termination, refusal to pay outstanding

amounts owed and failure to cooperate in good faith to invoke the “cure”

process and/or engage in meaningful discussions per the dispute resolution

provisions all constitute breaches of the Agreement. Tyler is entitled to be paid

the over $1.6 million outstanding amount due pursuant to the Agreement.

                            V. CAUSES OF ACTION

                     COUNT I. – BREACH OF CONTRACT

      18.     Tyler re-alleges and incorporates the allegations in all previous

paragraphs as if expressly set forth herein.




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      19.    Tyler and Jacksonville entered into a valid, binding, and enforceable

contract as described herein and as evidenced by the Agreement and other

relevant ancillary documents.

      20.    Tyler performed its obligations under the contract, and at all

relevant times Tyler has been willing and able to perform its obligations under

the Agreement.

      21.    Jacksonville has materially breached the contract by wrongfully

terminating the Agreement, failing to pay for software and services Tyler

provided under the Agreement, and failing to cooperate in good faith to invoke

the “cure” process and/or engage in dispute resolution processes as required by

the Agreement.

      22.    As a direct and proximate result of Jacksonville’s material breaches

of contract, Tyler has suffered damages and is entitled, among other things, to

recover its damages in in excess of $1.6 million.

                     COUNT II. – UNJUST ENRICHMENT

      23.    Tyler re-alleges and incorporates the allegations in all previous

paragraphs as if expressly set forth herein.

      24.    Tyler conferred a significant benefit on Jacksonville by providing

over $1.6 million of software and services deliverables to Jacksonville.

Jacksonville was aware that it was receiving the benefit and that the software and




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services had value. Jacksonville was aware that Tyler expected to be paid for the

software and services. Under the circumstances, it would be unjust to allow

Jacksonville to retain the benefit of those software and services deliverables

without making payment to Tyler.

      25.    As a direct and proximate result of Jacksonville’s conduct, Tyler has

suffered damages and is entitled, among other things, to recover its damages in

an amount in excess of $1.6 million.

                      COUNT III. – DECLARATORY RELIEF

      26.    Tyler re-alleges and incorporates the allegations in all previous

paragraphs as if expressly set forth herein.

      27.    Pursuant to 28 U.S.C. § 2201, Tyler seeks the following declaratory

relief from this Court, declaring Tyler’s rights under the Agreement:

             (i).    A declaration that Tyler’s actions in connection with the

                     implementation of the System have been consistent with the

                     obligations imposed by the Agreement, that there is no Defect

                     in the Tyler Software, and that Tyler has not materially

                     breached the Agreement;

             (ii).   A declaration that Jacksonville breached the Agreement by

                     purporting to terminate for convenience;




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             (iii). A declaration that Jacksonville improperly sought to

                     terminate the Agreement “for cause” and did not invoke the

                     “cure” process in good faith in breach of the Agreement; and

             (iv). A declaration Jacksonville improperly refused to cooperate or

                     otherwise engage in the dispute resolution procedures

                     required by the Agreement.

                                 VI. JURY DEMAND

       28.   Tyler respectfully demands a jury trial for those issues that are

triable.

                               VII. PRAYER FOR RELIEF

       WHEREFORE, Tyler requests that this Court grant it judgment against

Jacksonville and award to Tyler:

             (i).    Tyler’s    actual   damages    in      excess   of   the   minimum

                     jurisdictional limits of this Court;

             (ii).   the declaratory relief outlined above;

             (iii). pre-judgment interest as may be provided by law;

             (iv). necessary and reasonable attorneys’ fees and costs of court
                   through trial and appeal of this action;

             (v).    post-judgment interest at the highest lawful rate from the date
                     of judgment until such judgment is satisfied; and

             (vi). such other and further relief to which Tyler may be entitled.




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Dated:     December 13, 2022              Respectfully submitted,

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